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                                                                                                    E-FILED
                                                                          Friday, 14 July, 2017 01:00:59 PM
                                                                              Clerk, U.S. District Court, ILCD

042481/19344/JNR/PEH

                          UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

RALPH KINGS a/k/a VINCENT E.
HUDSON,

                       Plaintiff,

v.

MCCORMICK, M. HINTON, DR. MORANO,                   No. 17-cv-1128
B. THOMAS, K. RENZI, W. ALLEY, S.
MOLINERO, L. DUCKWORTH, K. HAAG,                    Judge Sara Darrow
T. NELSON, R. PFISTER, S. SIMPSON, J.
SIMMONS, T. BAYLOR, L. TUCKER, S.
PRENTICE, A. CORLEV, G. TANGMAN, W.
LEE, R. MIESTER, M. SELLERS, and M.
MELVIN,

                       Defendants.

                         ANSWER TO PLAINTIFF’S COMPLAINT

        NOW COMES the Defendant, DR. SCOTT MCCORMICK, by his attorneys,

CASSIDAY SCHADE LLP, and pursuant to Local Rule 16.3(E)(2) and the Court’s May 10,

2017, Order, hereby submits his Answer and Affirmative Defenses to Plaintiff’s Complaint,

stating as follows:

        1.     Defendant admits that jurisdiction and venue are proper in the Central District of

Illinois.

        2.     Defendant admits he acted under color of law at all times relevant.

        3.     Defendant admits that he provided mental health treatment to Plaintiff at Pontiac

Correctional Center as a treating psychiatrist.

        4.     Defendant denies making sexually suggestive comments to Plaintiff.

        5.     Defendant denies engaging in sexual conduct with Plaintiff.
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        6.      Defendant denies depriving Plaintiff of liberty without due process of law.

        7.      Defendant denies violating Plaintiff due process rights as guaranteed by the

Fourteenth Amendment to the United States Constitution.

        8.      Defendant denies that Plaintiff is entitled to any relief whatsoever.

        9.      Defendant denies that Plaintiff's claims are meritorious.

DEFENDANT DEMANDS TRIAL BY JURY

                                   AFFIRMATIVE DEFENSES

        1.      To the extent Plaintiff has failed to exhaust his administrative remedies prior to

initiating bringing this action, his claims are barred by Section 1997e(a) of the Prison Litigation

Reform Act.

        2.      To the extent Plaintiff’s claims for relief accrued more than two years prior to

initiation of this case, they are barred by the applicable statute of limitations.

DEFENDANT DEMANDS TRIAL BY JURY AS TO HIS AFFIRMATIVE DEFENSES

        WHEREFORE, for the above reasons, Defendant respectfully requests this Honorable

Court deny Plaintiff any relief in this matter and grant Defendant judgment as to all matters and

any other relief deemed appropriate, including cost of suit and attorneys’ fees due this action

being frivolous, unreasonable, and brought in bad faith.

                                                Respectfully submitted,

                                                CASSIDAY SCHADE LLP

                                                By: /s/ Joseph N. Rupcich
                                                    Attorneys for Defendant, DR. SCOTT
                                                    MCCORMICK




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 14 2017, I electronically filed the foregoing Answer to

Plaintiff’s Complaint with Affirmative Defenses with the Clerk of the Court using the CM/ECF

system. The electronic case filing system sent a “Notice of E-Filing” to the following:



         and I hereby certify that a true and correct copy of the foregoing Answer to Plaintiff’s

Complaint with Affirmative Defenses was served via regular mail to the following non-CM-ECF

participant at the following address by depositing the same in the U.S. mail located in

Springfield, Illinois, with proper postage prepaid, on July 14, 2017. Under penalties as provided

by law pursuant to 735 ILCS 5/1-109, I certify that the statements set forth herein are true and

correct:

PRO SE:
Ralph Kings
IDOC #M02363
Pontiac Correctional Center
Inmate Mail/Parcels
P.O. Box 99
Pontiac IL 61764
(815) 842-2816



                                                                   /s/ Joseph N. Rupcich
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